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                                                EXHIBIT A

                                EVIDENCE OF TRANSFER OF CLAIM

 TO:    THE DEBTORS AND THE BANKRUPTCY COURT

         For value received, the adequacy and sufficiency of which are hereby acknowledged,
(the “Seller”), hereby unconditionally and irrevocably sells, transfers and assigns to Fire Bouvardia,
L.L.C. (the “Buyer”) 100% of Seller’s right, title, interest, claims and causes of action in and to, or arising
under or in connection with, Seller’s claim, designated in the Bankruptcy Case (as defined below) as
described below, that was asserted against FTX Trading Ltd. and its affiliated debtors (collectively, the
“Debtors”), in the proceedings captioned In re: FTX Trading Ltd., et al, Case No. 22-11068 (JTD)
(Jointly Administered) (the “Bankruptcy Case”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”), and any and all other proofs of claim filed by Seller with the
Bankruptcy Court in respect of the foregoing claim.

       Claim               Customer               Amount                 Debtor               Case No.
    Information             Code

 Confirmation ID:      Schedule F           100% of Seller’s        FTX Trading Ltd.      22-11068
 3265-70-UVFPG-        Customer Code        Claim as described
 980060083             00294713             on Schedule F (see
                                            attached) and the
 Schedule Number:                           Customer Claim
 7444956                                    Form

 Claim Number:
 33879

 Confirmation ID:
 3265-70-SATKB-
 658416559

 Schedule Number:
 7444956



         Seller hereby waives any objection to the transfer of the claim to Buyer on the books and records
of the Debtors and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any
notice or right to a hearing as might be imposed by Rule 3001 of the Federal Rules of Bankruptcy
Procedure, the Bankruptcy Code, applicable local bankruptcy rules or applicable law. Seller
acknowledges and understands, and hereby stipulates, that an order of the Bankruptcy Court may be
entered without further notice to Seller transferring to Buyer the foregoing claim and recognizing Buyer
as the sole owner and holder of the claim. Seller further directs the Debtors, the Bankruptcy Court, and all
other interested parties that all further notices relating to the claim, and all payments or distributions of
money or property in respect of the claim, are to be delivered or made to Buyer.

                                         (remainder of page blank)


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